          Case 1:19-cv-01333-ABJ Document 17 Filed 10/01/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON, et al.,
                       Plaintiffs,

                v.
                                                              Case No. 19-cv-1333 (ABJ)
 DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,


                                Defendants.


 PLAINTIFFS’ AMENDED MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure and LCvR 65.1, Plaintiffs in

the above-captioned action hereby move the Court to enter a temporary restraining order

required Defendants to immediately preserve for the duration of this litigation: (1) all records

reflecting Defendants' meetings, phone calls, and other communications with foreign leaders; (2)

all records reflecting policies and practices regarding recordkeeping of Defendants' meetings,

phone calls, and other communications with foreign leaders; (3) all records reflecting White

House or agency investigations of Defendants' recordkeeping policies and practices regarding

meetings, phone calls, and other communications with foreign leaders; (4) all records reflecting

Defendants' communication of recordkeeping polices or practices to other components of the

executive branch; (5) all records reflecting instructions, guidance, or legal advice about

recordkeeping requirements; and (6) all records of efforts by White House or other executive

branch officials to return, claw back, “lock down,” or recall White House records reflecting

Defendants' meetings, phone calls, and other communications with foreign leaders that were

distributed to or otherwise shared with agency officials.
          Case 1:19-cv-01333-ABJ Document 17 Filed 10/01/19 Page 2 of 2




       Further, Plaintiffs respectfully request that the Court schedule a hearing on this motion at

the Court’s earliest convenience. As grounds for this motion, the Court is respectfully referred to

the memorandum of points and authorities filed with this motion.

       Respectfully submitted,

 BAKER & MCKENZIE LLP                            CITIZENS FOR RESPONSIBILITY AND
                                                 ETHICS IN WASHINGTON

 /s/ George M. Clarke III_______________         /s/ Anne L. Weismann_______________
 George M. Clarke III, D.C. Bar No. 480073       Anne L. Weismann, D.C. Bar No. 298190
 Mireille R. Oldak, D.C. Bar No. 1027998         Conor M. Shaw, D.C. Bar No. 1032074
 815 Connecticut Avenue, N.W.                    1101 K Street., N.W., Suite 201
 Washington, D.C. 20006                          Washington, D.C. 20005
 Phone: (202) 835-6184                           Phone: (202) 408-5565
 Fax: (202) 416-7184                             Email: aweismann@citizensforethics.org
 Email: george.clarke@bakermckenzie.com          Email: cshaw@citizensforethics.org
 Email: mireille.oldak@bakermckenzie.com



Counsel for Plaintiffs

Dated: October 1, 2019




                                                 2
